Case 1:11-cv-00978-WYD-KLM Document 54-6 Filed 08/19/11 USDC Colorado Page 1 of 11
Case 1:11-cv-00978-WYD-KLM Document 54-6 Filed 08/19/11 USDC Colorado Page 2 of 11
Case 1:11-cv-00978-WYD-KLM Document 54-6 Filed 08/19/11 USDC Colorado Page 3 of 11
Case 1:11-cv-00978-WYD-KLM Document 54-6 Filed 08/19/11 USDC Colorado Page 4 of 11
Case 1:11-cv-00978-WYD-KLM Document 54-6 Filed 08/19/11 USDC Colorado Page 5 of 11
Case 1:11-cv-00978-WYD-KLM Document 54-6 Filed 08/19/11 USDC Colorado Page 6 of 11
Case 1:11-cv-00978-WYD-KLM Document 54-6 Filed 08/19/11 USDC Colorado Page 7 of 11
Case 1:11-cv-00978-WYD-KLM Document 54-6 Filed 08/19/11 USDC Colorado Page 8 of 11
Case 1:11-cv-00978-WYD-KLM Document 54-6 Filed 08/19/11 USDC Colorado Page 9 of 11
Case 1:11-cv-00978-WYD-KLM Document 54-6 Filed 08/19/11 USDC Colorado Page 10 of
                                      11
Case 1:11-cv-00978-WYD-KLM Document 54-6 Filed 08/19/11 USDC Colorado Page 11 of
                                      11
